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FoRT woRTH DIVISION SLL.`JFL§ if ;Gi;§`€"§`

UNITED STATES OF AMERICA uaw

v. 4=06-CR-045_A 6 15

mW>WHW-!QO¢

JOSEPH COLE CANTRELL
WITNESS LIST OF DEFENDANT JOSEPH COLE CANTRELL
NOW COMES defendant JOSEPH COLE CANTRELL, by and through undersigned counsel,

and files a list of witnesses he may call in his defense at the revocation hearing on June 8, 2006.

I\Q. WITNESS TESTIMONY SWORN/TESTIFIED

l. Cynthia Burgess fact witness as to medical /
records and character.

2. Reynalo Gutierrez Will testify as to defendant’s /
USPO actions while on supervised release.
3. Joseph Cantrell Will testify as to his behavior /

while on supervised release

 

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Respectfully Submitted,

IRA R. KIRKENDOLL

 

 

CHl§j/§GURTIS
Asst. Federal Public Defender
TX State Bar No. 05270900
819 Taylor Street, Roorn 9A10
Fort Worth, TX 76102-6114
(817) 978-275 3

CERTIFICATE OF SERVICE

I, CHRIS CURTIS, hereby certify that on this the 7th day of June, 2 6, a copy Of the above

Witness List of defendant JOSEPH COLE CANTRELL, has been

States Attorney Alan Buie.

ered to Assistant United

   

 

CHRIS CURTIS

